

Dominick v Charles Millar &amp; Son Co. (2017 NY Slip Op 05406)





Dominick v Charles Millar &amp; Son Co.


2017 NY Slip Op 05406


Decided on June 30, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 30, 2017

PRESENT: WHALEN, P.J., SMITH, CENTRA, TROUTMAN, AND SCUDDER, JJ. (Filed June 30, 2017.) 


MOTION NO. (458/17) CA 16-02017.

[*1]NICHOLAS DOMINICK AND LORRAINE J. DOMINICK, PLAINTIFFS-RESPONDENTS, 
vCHARLES MILLAR &amp; SON CO., CHARLES MILLAR SUPPLY, INC., MILLAR SUPPLY, INC., PACEMAKER MILLAR STEEL &amp; INDUSTRIAL SUPPLY COMPANY, INC., INDIVIDUALLY AND AS SUCCESSOR-IN-INTEREST TO CHARLES MILLAR &amp; SON SUPPLY, INC., PACEMAKER MILLAR STEEL &amp; INDUSTRIAL SUPPLY OF BINGHAMTON, INC., PACEMAKER STEEL &amp; ALUMINUM OF BINGHAMTON CORP., PACEMAKER STEEL AND PIPING CO., INC., INDIVIDUALLY AND AS SUCCESSOR TO CHARLES MILLAR, PACEMAKER STEEL WAREHOUSE INC., DEFENDANTS-APPELLANTS, ET AL., DEFENDANTS. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








